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  From:                  alhee@waimana.com
  To:                    Huang, Shane (CIV); Iwamuro, Channing (USMS)
  Subject:               [EXTERNAL] Auction
  Date:                  Monday, May 13, 2024 9:33:21 PM
  Attachments:           DOC051024.pdf


  USA and US Marshal District of Hawaii;

  In accordance with the July 26, 2024 US District Court Order, Waimana Enterprises, Inc. submits a
  bid for the property to be auctioned on May 20, 2024. The Confidentiality Agreement is attached.

            i.          The bid is for all of the Property.
            ii.         The bidder is Waimana Enterprises, Inc.
                           c/o Wendy Hee, President
                           P.O. Box 893128
                           Mililani, HI 96789
                           808-599-4441
                           wendyh@waimana.com
            iii.        The amount bid is $10,000. The total amount has been submitted to the US
                       Marshal via certified mail
                           U.S. Marshals Service Atten: AO
                           300 Ala Moana Blvd. Room 2800
                           Honolulu, HI 96850
            iv.         The bid is irrevocable unless and until Plaintiff accepts another bid and Waimana is
                       not selected as a Backup Bid
            v.          The bid is not subject to any contingencies or conditions
            vi.         Waimana agrees to serve as a Backup Bid if the bid is the highest and best bid after
                       the Successful Bid
            vii.        A cashier’s check payable to the US Marshall has been submitted via certified mail.
            viii.       N/A
            ix.         Waimana proposes to use the Property to benefit residents of Hawaiian Home
                       Lands in accordance with applicable law. Waimana has contractual access to all of
                       the equipment currently being used to provide service. Waimana is therefore
                       capable of providing continuity of service in accordance with Sandwich Isles
                       Communications, Inc.’s License from the date the court confirms the purchase.



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  Waimana Enterprises Incorporated at 808-599-4441 and then delete this message from your system.
